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 7                           UNITED STATES DISTRICT COURT
 8                          SOUTHERN DISTRICT OF CALIFORNIA
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10   Ahl-e-Bait TV, Inc,                                 Case No.: 3:20-cv-1322-BEN-MSB
11                                      Plaintiff,
                                                         ORDER DISMISSING ACTION
12   v.                                                  WITHOUT PREJUDICE
13   Zaki Amini,
14                                    Defendant.
15
16         Plaintiff Ahl-e-Bait TV, Inc. filed this case on July 14, 2020. ECF No. 1. The

17   Summons issued the same day. ECF No. 2. The Docket does not reflect that Defendant

18   Zaki Amini has been served, nor has Plaintiff requested any extension.

19         Federal Rule of Civil Procedure 4 and Local Civil Rule 4.1 require that all

20   complaints be served within ninety (90) days. “If a defendant is not served within 90

21   days after the complaint is filed, the court—on motion or on its own after notice to the

22   plaintiff—must dismiss the action without prejudice against that defendant or order that

23   service be made within a specified time.” Fed. R. Civ. P. 4(m).

24         On October 28, 2020, the Court ordered Plaintiff to show cause for why service

25   had not been made. ECF No. 3. It further warned Plaintiff that failure to serve by

26   November 4, 2020, could result in the action being dismissed without prejudice. Id.

27   Plaintiff has failed to comply with that Order.

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 1         Plaintiff has failed to serve the Complaint in this case as required by Federal Rule
 2   of Civil Procedure 4 and Local Civil Rule 4.1. Moreover, the Court provided Plaintiff
 3   notice of the possibility the case would be dismissed for failure to serve. Plaintiff
 4   nonetheless has failed to respond to the Court’s Order to Show Cause. Accordingly, the
 5   Court dismisses the action without prejudice as to Defendant Zaki Amini pursuant to
 6   Federal Rule of Civil Procedure 4(m). As Defendant Zaki Amini is the only defendant in
 7   this case, the entire action is dismissed without prejudice.
 8         IT IS SO ORDERED.
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     Date: November 9, 2020                        __________________________________
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                                                   HON. ROGER T. BENITEZ
11                                                 United States District Judge
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